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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 05-cr-241-09-JD

Christopher Knight


                                   O R D E R


        The assented to motion to reschedule jury trial (document no.

195) filed by defendant Christopher Knight is granted.               Jury Trial

is also continued as to defendants Virak Tin and Sothear Kim unless

counsel files an objection thereto on or before Tuesday, April 17,

2007.

        Defendants Knight,      Tin and Kim shall file waivers of speedy

trial rights within 10 days.           The court finds that the ends of

justice served by granting a continuance outweigh the best interest

of the public and the defendant in a speedy trial,                 18 U.S.C.   §

3131(h)(8)(B)(iv),      for the reasons set forth in the motion.

        SO ORDERED.



                                           /s/ Joseph A. DiClerico, Jr.
                                           Joseph A. DiClerico, Jr.
                                           United States District Judge
Date:     April 11, 2007

cc:     Robert Kinsella, Esq.
        James Gleason, Esq.
        U.S. Marshal
        U.S. Probation
        James Dennehy, Esq.
        Mark Sisti, Esq.
        Michael Smith, Esq.
